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DECLARATION OF JOHN MCLEMORE
PURSUANT TO 28 U.S.C. § 1246 .

I, John Mclemore, under penalty of perjury, state as follows:

1. 1 am over the age of 21, and I am competent to make these statements.

2. I served as a BP Branch Director at the Fourchon Forwarding Operating Base in
Fourchon Parish, Louisiana from June 12, 2010 to September 30, 2010. . :

3. The operations under my supervision included improvements to properties that BP used
in connection with oil spill response activities, including (among others) properties that
were referred to as the Leeville Boat Slip and Yard Space located at 25902 Highway 1
and the Leeville Warehouse located at 25771 Highway 1 (the “Leeville Properties”).
4, BP installed numerous pilings at the Leeville Boat Slip. Sh .

5. Restoration of the Leeville Properties to their original condition prior to BP’s use would
require the removal of all of the new pilings installed at the Leeville Boat Slip. Removal
of such pilings would require (among other things) the rental of a crane and a significant
amount of manpower. :

6. Based upon my knowledge of the costs incurred by BP to improve properties used in
connection with oil spill response activities, 1 am confident that the cost to remove the
new pilings installed at the Leeville Boat Slip would exceed the sum of $100,000.00.

I declare under penalty of perjury that the foregoing is true and correct to the best
of my knowledge and belief and that, if called as a witness, I would and could testify to the
above based on my own personal knowledge.

EXECUTED on January 20, 2012.

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JOHN MCLEMORE

EXHIBIT

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